                                           Case 15-24170                    Doc 1             Filed 10/13/15                 Page 1 of 71
B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                     DISTRICT OF MARYLAND                                                                                        Voluntary Petition
                                                       GREENBELT DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Rodd, Jason Christopher                                                                              Rodd, Karen Lynn

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-5871                                                                than one, state all):     xxx-xx-8493
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
5847 Bottlebrush Court                                                                               5847 Bottlebrush Court
New Market, MD                                                                                       New Market, MD
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            21774                                                                                           21774
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Frederick                                                                                            Frederick
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                                         Case 15-24170                     Doc 1     Filed 10/13/15                Page 2 of 71
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Jason Christopher Rodd
                                                                                                                  Karen Lynn Rodd
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Kevin K. Shipe                                                10/13/2015
                                                                                                 Kevin K. Shipe                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                         Case 15-24170                    Doc 1          Filed 10/13/15              Page 3 of 71
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Jason Christopher Rodd
                                                                                                                    Karen Lynn Rodd
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Jason Christopher Rodd
      Jason Christopher Rodd
                                                                                             X
       /s/ Karen Lynn Rodd                                                                       (Signature of Foreign Representative)
 X    Karen Lynn Rodd

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     10/13/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Kevin K. Shipe                                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Kevin K. Shipe                                   Bar No. 17437                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 The Law Offices of Shipe & Bush, P.C.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 3528 Worthington Blvd.                                                                      given the debtor notice of the maximum amount before preparing any document
 Frederick, MD 21704                                                                         for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (301) 874-9030
 Phone No.______________________        (301) 874-0033
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/13/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                              Case 15-24170           Doc 1       Filed 10/13/15         Page 4 of 71
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
In re:   Jason Christopher Rodd                                                          Case No.
         Karen Lynn Rodd                                                                                      (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                              Case 15-24170          Doc 1      Filed 10/13/15         Page 5 of 71
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
In re:   Jason Christopher Rodd                                                       Case No.
         Karen Lynn Rodd                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Jason Christopher Rodd
                       Jason Christopher Rodd

Date:       10/13/2015
                              Case 15-24170           Doc 1       Filed 10/13/15         Page 6 of 71
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
In re:   Jason Christopher Rodd                                                          Case No.
         Karen Lynn Rodd                                                                                      (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                              Case 15-24170          Doc 1      Filed 10/13/15         Page 7 of 71
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
In re:   Jason Christopher Rodd                                                       Case No.
         Karen Lynn Rodd                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Karen Lynn Rodd
                       Karen Lynn Rodd

Date:       10/13/2015
                                 Case 15-24170            Doc 1       Filed 10/13/15          Page 8 of 71
B6A (Official Form 6A) (12/07)



In re Jason Christopher Rodd                                                                 Case No.
      Karen Lynn Rodd                                                                                                             (if known)



                                              SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned
as a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and
powers exercisable for the debtor's own benefit. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an "H," "W," "J," or "C" in the column labled "Husband, Wife, Joint, or Community." If the debtor
holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -
Property Claimed as Exempt.

                                                                                                                               Current Value




                                                                                                     Husband, Wife, Joint,
                                                                                                                                of Debtor's
                    Description and                                        Nature of Debtor's




                                                                                                       or Community
                                                                                                                                 Interest in
                      Location of                                         Interest in Property
                                                                                                                             Property, Without    Amount Of
                       Property                                                                                                                  Secured Claim
                                                                                                                              Deducting Any
                                                                                                                              Secured Claim
                                                                                                                               or Exemption


 Residence                                                         Tenancy by Entirety                  J                        $447,505.00       $479,991.00
 5847 Bottlebrush Court
 New Market, MD 21774




                                                                                                 Total:                          $447,505.00
                                                                                                  (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Jason Christopher Rodd                                                                Case No.
      Karen Lynn Rodd                                                                                           (if known)



                                         SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
categories, place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a
separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state
whether the husband, wife, both, or the marital community own the property by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions
claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts
and Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of
Property." If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R.
Bankr. P. 1007(m).




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                            None




                                                                                                                                              Without Deducting
             Type of Property                                     Description and Location of Property                                          any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption

1. Cash on hand.                                   Cash on Hand                                                             J                         $277.00


2. Checking, savings or other finan-               PNC Checking Account                                                     J                       $2,205.21
cial accounts, certificates of deposit
or shares in banks, savings and loan,              PNC Savings Account                                                      W                          $32.01
thrift, building and loan, and home-
stead associations, or credit unions,              PNC Business Checking Account                                            W                          $59.75
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                Couch                                                                    J                         $200.00
including audio, video and computer
equipment.                                         Loveseat                                                                 J                         $150.00

                                                   Oversized chair and ottoman                                              J                         $150.00

                                                   Coffee table                                                             J                          $75.00

                                                   End tables                                                               J                         $160.00
                                 Case 15-24170            Doc 1        Filed 10/13/15        Page 10 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                                 Case No.
      Karen Lynn Rodd                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 1




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,

                                           None
                                                                                                                                          Without Deducting
             Type of Property                                      Description and Location of Property                                     any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption


                                                  Couch table                                                           J                          $50.00

                                                  Living room flat T.V.                                                 J                         $125.00

                                                  T.V. hutch                                                            J                         $100.00

                                                  Wall pictures                                                         J                         $125.00

                                                  Wall clock                                                            J                         $200.00

                                                  Fish tank and stand                                                   J                         $150.00

                                                  Kitchen table and chairs                                              J                          $75.00

                                                  Pots/pans/utensils/dishes                                             J                         $650.00

                                                  Small kitchen appliances                                              J                         $450.00

                                                  Oak Garbage Can                                                       J                          $65.00

                                                  Sitting room couch                                                    J                          $10.00

                                                  Bar stools                                                            J                         $170.00

                                                  Area rug                                                              J                          $90.00

                                                  Runner rug                                                            J                          $25.00

                                                  Dining room table set                                                 J                         $600.00

                                                  Wine hutch                                                            J                          $50.00

                                                  Living room couch and loveseat                                        J                          $10.00

                                                  Foyer table                                                           J                         $100.00

                                                  Grandfather clock                                                     J                         $300.00
                                 Case 15-24170             Doc 1        Filed 10/13/15        Page 11 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                                  Case No.
      Karen Lynn Rodd                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                Continuation Sheet No. 2




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,

                                           None
                                                                                                                                           Without Deducting
             Type of Property                                       Description and Location of Property                                     any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption


                                                  King bedroom bed and furniture set                                     J                         $500.00

                                                  Twin bed                                                               J                          $50.00

                                                  Computer desk w/ chair                                                 J                          $30.00

                                                  Entertainment stand                                                    J                          $35.00

                                                  Bedroom flat T.V.                                                      J                         $100.00

                                                  Master bedroom flat T.V.                                               J                         $100.00

                                                  Queen bed set furniture                                                J                         $150.00

                                                  Full bed set furniture                                                 J                         $150.00

                                                  Pool table                                                             J                          $30.00

                                                  Mini fridge                                                            J                          $10.00

                                                  Wall mirrors                                                           J                         $100.00

                                                  Patio fire pit                                                         J                          $30.00

                                                  Patio furniture                                                        J                         $100.00

                                                  Office desk                                                            J                         $500.00

                                                  Office printers/computers                                              J                         $900.00

                                                  Turkish Wood Chest Personalized                                        J                          $50.00


5. Books; pictures and other art           X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.
                                 Case 15-24170           Doc 1          Filed 10/13/15       Page 12 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                                 Case No.
      Karen Lynn Rodd                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,

                                           None
                                                                                                                                          Without Deducting
             Type of Property                                      Description and Location of Property                                     any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption


6. Wearing apparel.                               Women's Clothing                                                      W                         $200.00

                                                  Men's Clothing                                                        H                         $250.00


7. Furs and jewelry.                              Wedding Ring                                                          W                       $2,000.00

                                                  Wedding Band                                                          H                         $150.00

                                                  Gold Necklace                                                         W                         $200.00



8. Firearms and sports, photo-             X
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Thrift Savings Plan                                                   H                     $150,000.00
or other pension or profit sharing
plans. Give particulars.
                                 Case 15-24170     Doc 1    Filed 10/13/15        Page 13 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                      Case No.
      Karen Lynn Rodd                                                                             (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                    Continuation Sheet No. 4




                                                                                                       Husband, Wife, Joint,
                                                                                                                               Current Value of
                                                                                                                               Debtor's Interest




                                                                                                         or Community
                                                                                                                                  in Property,

                                            None
                                                                                                                               Without Deducting
             Type of Property                           Description and Location of Property                                     any Secured
                                                                                                                                    Claim or
                                                                                                                                   Exemption


13. Stock and interests in incorpo-         X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.
                                 Case 15-24170           Doc 1     Filed 10/13/15        Page 14 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                             Case No.
      Karen Lynn Rodd                                                                                    (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 5




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,

                                           None
                                                                                                                                      Without Deducting
             Type of Property                                  Description and Location of Property                                     any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption


21. Other contingent and unliqui-          X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other         X
intellectual property. Give
particulars.

23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                2012 Ford Fusion Sedan                                            J                       $8,111.00
and other vehicles and accessories.
                                                  2013 Chrysler Town & Country                                      J                      $20,648.00



26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.
                                 Case 15-24170            Doc 1       Filed 10/13/15         Page 15 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                                 Case No.
      Karen Lynn Rodd                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 6




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,

                                           None
                                                                                                                                          Without Deducting
             Type of Property                                      Description and Location of Property                                     any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption


30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.

35. Other personal property of any                CDs/DVDs Collection                                                   J                         $200.00
kind not already listed. Itemize.
                                                  Computer                                                              J                          $50.00

                                                  Workout equipment                                                     J                         $150.00

                                                  Trampoline                                                            J                         $100.00

                                                  Gas grill                                                             J                         $100.00

                                                  Lawn mower                                                            J                          $25.00

                                                  Paint sprayer                                                         J                          $50.00

                                                  Bench saw                                                             J                          $30.00

                                                  Circular saw                                                          J                          $20.00

                                                  Routers                                                               J                          $70.00

                                                  Drill                                                                 J                          $20.00

                                                  Framing nailer                                                        J                          $30.00
                                 Case 15-24170                 Doc 1       Filed 10/13/15        Page 16 of 71
B6B (Official Form 6B) (12/07) -- Cont.




In re Jason Christopher Rodd                                                                     Case No.
      Karen Lynn Rodd                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                   Continuation Sheet No. 7




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

                                              None
                                                                                                                                                  Without Deducting
             Type of Property                                          Description and Location of Property                                         any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption

                                                     Trim nailer                                                                J                          $35.00

                                                     40gal. Compressor                                                          J                          $40.00

                                                     Tools and toolbox                                                          J                         $150.00

                                                     Mitre saw                                                                  J                          $40.00

                                                     Grinder                                                                    J                          $20.00

                                                     Upright freezer                                                            J                         $200.00

                                                     Iphone 6 64gb                                                              H                         $400.00

                                                     Iphone 6 Plus                                                              H                         $500.00

                                                     Iphone 6 64gb                                                              H                         $400.00




                                                                          7           continuation sheets attached   Total >                          $193,677.97
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                                Case 15-24170             Doc 1        Filed 10/13/15          Page 17 of 71
B6C (Official Form 6C) (4/13)



In re Jason Christopher Rodd                                                                   Case No.
      Karen Lynn Rodd                                                                                               (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 Cash on Hand                                            Md. Code Ann., Cts. & Jud. Proc. § 11-                   $277.00                 $277.00
                                                         504(b)(5)

                                                         Md. Code Ann., Cts. & Jud. Proc. § 11-                      $0.00
                                                         504(f)(1)(i)

 PNC Checking Account                                    Md. Code Ann., Cts. & Jud. Proc. § 11-                 $2,205.21               $2,205.21
                                                         504(b)(5)

                                                         Md. Code Ann., Cts. & Jud. Proc. § 11-                      $0.00
                                                         504(f)(1)(i)

 PNC Savings Account                                     Md. Code Ann., Cts. & Jud. Proc. § 11-                     $32.01                  $32.01
                                                         504(b)(5)

                                                         Md. Code Ann., Cts. & Jud. Proc. § 11-                      $0.00
                                                         504(f)(1)(i)

 PNC Business Checking Account                           Md. Code Ann., Cts. & Jud. Proc. § 11-                     $59.75                  $59.75
                                                         504(b)(5)

                                                         Md. Code Ann., Cts. & Jud. Proc. § 11-                      $0.00
                                                         504(f)(1)(i)

 Couch                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-                   $200.00                 $200.00
                                                         504(b)(4)

                                                         Md. Code Ann., Cts. & Jud. Proc. § 11-                      $0.00
                                                         504(b)(5)



* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $2,773.97               $2,773.97
                                 Case 15-24170     Doc 1      Filed 10/13/15        Page 18 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
                Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Loveseat                                          Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00                $150.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Oversized chair and ottoman                       Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00                $150.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Coffee table                                      Md. Code Ann., Cts. & Jud. Proc. § 11-             $75.00                 $75.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 End tables                                        Md. Code Ann., Cts. & Jud. Proc. § 11-            $160.00                $160.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                                                                   $3,308.97              $3,308.97
                                 Case 15-24170     Doc 1      Filed 10/13/15        Page 19 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 2



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
               Description of Property
                                                                Exemption                      Exemption               Exemption



 Couch table                                       Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00                 $50.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Living room flat T.V.                             Md. Code Ann., Cts. & Jud. Proc. § 11-            $125.00                $125.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 T.V. hutch                                        Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00                $100.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Wall pictures                                     Md. Code Ann., Cts. & Jud. Proc. § 11-            $125.00                $125.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Wall clock                                        Md. Code Ann., Cts. & Jud. Proc. § 11-            $200.00                $200.00
                                                   504(b)(4)

                                                                                                   $3,908.97              $3,908.97
                                 Case 15-24170     Doc 1      Filed 10/13/15        Page 20 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 3



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Fish tank and stand                               Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00                $150.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Kitchen table and chairs                          Md. Code Ann., Cts. & Jud. Proc. § 11-             $75.00                 $75.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Pots/pans/utensils/dishes                         Md. Code Ann., Cts. & Jud. Proc. § 11-            $440.00                $650.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $210.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Small kitchen appliances                          Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $450.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $450.00
                                                   504(b)(5)

                                                                                                   $5,233.97              $5,233.97
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B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 4



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Oak Garbage Can                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $65.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $65.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Sitting room couch                                Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $10.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $10.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Bar stools                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $170.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $170.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Area rug                                          Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $90.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $90.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                                                                   $5,568.97              $5,568.97
                                 Case 15-24170     Doc 1      Filed 10/13/15        Page 22 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 5



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
               Description of Property
                                                                Exemption                      Exemption               Exemption



 Runner rug                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $25.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $25.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Dining room table set                             Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $600.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $600.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Wine hutch                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $50.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Living room couch and loveseat                    Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $10.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $10.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Foyer table                                       Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(4)

                                                                                                   $6,253.97              $6,353.97
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B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 6



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Grandfather clock                                 Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $300.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $300.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 King bedroom bed and furniture set                Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $500.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $500.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Twin bed                                          Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $50.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Computer desk w/ chair                            Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $30.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $30.00
                                                   504(b)(5)

                                                                                                   $7,233.97              $7,233.97
                                 Case 15-24170     Doc 1      Filed 10/13/15        Page 24 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 7



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Entertainment stand                               Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $35.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $35.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Bedroom flat T.V.                                 Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Master bedroom flat T.V.                          Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Queen bed set furniture                           Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $150.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                                                                   $7,618.97              $7,618.97
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B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 8



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
                  Description of Property
                                                                Exemption                      Exemption               Exemption



 Full bed set furniture                            Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $150.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Pool table                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $30.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $30.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Mini fridge                                       Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $10.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $10.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Wall mirrors                                      Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Patio fire pit                                    Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $30.00
                                                   504(b)(4)

                                                                                                   $7,908.97              $7,938.97
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B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 9



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
               Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $30.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Patio furniture                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Office desk                                       Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $500.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $500.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Office printers/computers                         Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $900.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $900.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Turkish Wood Chest Personalized                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $50.00
                                                   504(b)(4)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00
                                                   504(b)(5)

                                                                                                   $9,488.97              $9,488.97
                                 Case 15-24170     Doc 1       Filed 10/13/15       Page 27 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 10



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Women's Clothing                                  Md. Code Ann., Cts. & Jud. Proc. § 11-            $200.00                $200.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(4)

 Men's Clothing                                    Md. Code Ann., Cts. & Jud. Proc. § 11-            $250.00                $250.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(b)(4)

 Wedding Ring                                      Md. Code Ann., Cts. & Jud. Proc. § 11-          $2,000.00              $2,000.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Wedding Band                                      Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00                $150.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

 Gold Necklace                                     Md. Code Ann., Cts. & Jud. Proc. § 11-            $200.00                $200.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00
                                                   504(f)(1)(i)

                                                                                                  $12,288.97             $12,288.97
                                 Case 15-24170     Doc 1       Filed 10/13/15       Page 28 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 11



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



 Thrift Savings Plan                               Md. Code Ann., Cts. & Jud. Proc. § 11-        $150,000.00            $150,000.00
                                                   504(h)

 2012 Ford Fusion Sedan                            Md. Code Ann., Cts. & Jud. Proc. § 11-          $1,711.03              $8,111.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $205.97
                                                   504(f)(1)(i)

 2013 Chrysler Town & Country                      Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00             $20,648.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-          $1,616.00
                                                   504(f)(1)(i)

 CDs/DVDs Collection                               Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $200.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $200.00
                                                   504(f)(1)(i)

 Computer                                          Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $50.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00
                                                   504(f)(1)(i)

 Workout equipment                                 Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $150.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00
                                                   504(f)(1)(i)

 Trampoline                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(f)(1)(i)

                                                                                                 $166,321.97            $191,547.97
                                 Case 15-24170     Doc 1       Filed 10/13/15       Page 29 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 12



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                      Exemption               Exemption



 Gas grill                                         Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                $100.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $100.00
                                                   504(f)(1)(i)

 Lawn mower                                        Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $25.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $25.00
                                                   504(f)(1)(i)

 Paint sprayer                                     Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $50.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $50.00
                                                   504(f)(1)(i)

 Bench saw                                         Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $30.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $30.00
                                                   504(f)(1)(i)

 Circular saw                                      Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $20.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $20.00
                                                   504(f)(1)(i)

 Routers                                           Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $70.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $70.00
                                                   504(f)(1)(i)

 Drill                                             Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $20.00
                                                   504(b)(5)

                                                                                                 $166,616.97            $191,862.97
                                 Case 15-24170     Doc 1       Filed 10/13/15       Page 30 of 71
B6C (Official Form 6C) (4/13) -- Cont.



In re Jason Christopher Rodd                                                        Case No.
      Karen Lynn Rodd                                                                                 (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 13



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each           Value of Claimed       Without Deducting
               Description of Property
                                                                Exemption                      Exemption               Exemption



                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $20.00
                                                   504(f)(1)(i)

 Framing nailer                                    Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $30.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $30.00
                                                   504(f)(1)(i)

 Trim nailer                                       Md. Code Ann., Cts. & Jud. Proc. § 11-              $0.00                 $35.00
                                                   504(b)(5)

                                                   Md. Code Ann., Cts. & Jud. Proc. § 11-             $35.00
                                                   504(f)(1)(i)

 40gal. Compressor                                 Md. Code Ann., Cts. & Jud. Proc. § 11-             $40.00                 $40.00
                                                   504(f)(1)(i)

 Tools and toolbox                                 Md. Code Ann., Cts. & Jud. Proc. § 11-            $150.00                $150.00
                                                   504(f)(1)(i)

 Mitre saw                                         Md. Code Ann., Cts. & Jud. Proc. § 11-             $40.00                 $40.00
                                                   504(f)(1)(i)

 Grinder                                           Md. Code Ann., Cts. & Jud. Proc. § 11-             $20.00                 $20.00
                                                   504(f)(1)(i)

 Upright freezer                                   Md. Code Ann., Cts. & Jud. Proc. § 11-            $200.00                $200.00
                                                   504(f)(1)(i)




                                                                                                 $167,151.97            $192,377.97
                                   Case 15-24170                                        Doc 1         Filed 10/13/15          Page 31 of 71
B6D (Official Form 6D) (12/07)
          In re Jason Christopher Rodd                                                                                         Case No.
                 Karen Lynn Rodd                                                                                                                             (if known)



                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R.
Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the
last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured Portion, if
Any" on the Statistical Summary of Certain Liabilities and Related Data.
                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                HUSBAND, WIFE, JOINT,




           CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                    AMOUNT OF          UNSECURED
             MAILING ADDRESS                                                                       INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                        UNLIQUIDATED
                                                                  OR COMMUNITY




                                                                                                                                         CONTINGENT
                                                     CODEBTOR




                                                                                                                                          DISPUTED
         INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                      WITHOUT              ANY
           AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                    DEDUCTING
           (See Instructions Above.)                                                                    VALUE OF                                        VALUE OF
                                                                                                   PROPERTY SUBJECT                                    COLLATERAL
                                                                                                         TO LIEN
                                                                                        DATE INCURRED:
ACCT #:                                                                                 NATURE OF LIEN:
                                                                                        utility / Agreement
AT&T                                                                                    COLLATERAL:
                                                                                        Iphone 6 64gb                                                        $675.00             $275.00
P.O. Box 10330                                                      H                   REMARKS:
Fort Wayne, IN 46851-0330



                                                                                        VALUE:                               $400.00
                                                                                        DATE INCURRED:
ACCT #:                                                                                 NATURE OF LIEN:
                                                                                        utility / Agreement
AT&T                                                                                    COLLATERAL:
                                                                                        Iphone 6 Plus                                                        $515.00               $15.00
P.O. Box 10330                                                      H                   REMARKS:
Fort Wayne, IN 46851-0330



                                                                                        VALUE:                               $500.00
                                                                                                               Subtotal (Total of this Page) >               $1,190.00             $290.00
 ________________continuation
        2                     sheets attached
                                                                                                              Total (Use only on last page) >
                                                                                                                                                       (Report also on    (If applicable,
                                                                                                                                                       Summary of         report also on
                                                                                                                                                       Schedules.)        Statistical
                                                                                                                                                                          Summary of
                                                                                                                                                                          Certain Liabilities
                                                                                                                                                                          and Related
                                                                                                                                                                          Data.)
                               Case 15-24170                                        Doc 1         Filed 10/13/15          Page 32 of 71
B6D (Official Form 6D) (12/07) - Cont.
          In re Jason Christopher Rodd                                                                                     Case No.
                 Karen Lynn Rodd                                                                                                                         (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                    UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                     CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                      DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                      WITHOUT              ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                    DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                        VALUE OF
                                                                                               PROPERTY SUBJECT                                    COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    utility / Agreement
AT&T                                                                                COLLATERAL:
                                                                                    Iphone 6 64gb                                                        $679.95             $279.95
P.O. Box 10330                                                  H                   REMARKS:
Fort Wayne, IN 46851-0330



                                                                                    VALUE:                               $400.00
                                                                                    DATE INCURRED:
ACCT #: xxxxxx3548                                                                  NATURE OF LIEN:
                                                                                    First Mortgage
Capital One Bank, N.A.                                                              COLLATERAL:
                                                                                    Residence                                                        $479,991.00         $32,486.00
PO Box 21887                                                    J                   REMARKS:
Eagan, MN 55121



                                                                                    VALUE:                           $447,505.00



Representing:                                                                       Cohn, Goldberg & Deutsch, LLC                                    Notice Only        Notice Only
Capital One Bank, N.A.                                                              600 Baltimore Avenue
                                                                                    #208
                                                                                    Towson, MD 21204




                                                                                    DATE INCURRED:    Various
ACCT #: xxxxxx3548                                                                  NATURE OF LIEN:
                                                                                    Arrearage claim
Capital One Bank, N.A.                                                              COLLATERAL:
                                                                                    Residence                                                         $26,000.00
PO Box 21887                                                      -                 REMARKS:
Eagan, MN 55121



                                                                                    VALUE:                            $26,000.00
Sheet no. __________
               1       of __________
                                2     continuation sheets attached                                         Subtotal (Total of this Page) >            $506,670.95          $32,765.95
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >
                                                                                                                                                   (Report also on    (If applicable,
                                                                                                                                                   Summary of         report also on
                                                                                                                                                   Schedules.)        Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
                               Case 15-24170                                        Doc 1         Filed 10/13/15       Page 33 of 71
B6D (Official Form 6D) (12/07) - Cont.
          In re Jason Christopher Rodd                                                                                  Case No.
                 Karen Lynn Rodd                                                                                                                     (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                 AMOUNT OF         UNSECURED




                                                                                                                                 UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                   CLAIM           PORTION, IF




                                                                                                                                  CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                   DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                   WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                 DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                     VALUE OF
                                                                                               PROPERTY SUBJECT                                 COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #: xxxxxxxxxx3918                                                              NATURE OF LIEN:
                                                                                    Vehicle Loan / Agreement
Chase Auto Finance                                                                  COLLATERAL:
                                                                                    2013 Chrysler Town & Country                                   $19,032.00
P.O. Box 901076                                                 J                   REMARKS:
Fort Worth, TX 76101-2076



                                                                                    VALUE:                         $20,648.00
                                                                                    DATE INCURRED:
ACCT #: xxxxx7536                                                                   NATURE OF LIEN:
                                                                                    Second Mortgage
Ditech Financial LLC                                                                COLLATERAL:
                                                                                    Residence                                                      $44,949.00        $44,949.00
PO Box 6176                                                     J                   REMARKS:
Rapid City, SD 57709-6176



                                                                                    VALUE:                        $447,505.00
                                                                                    DATE INCURRED:
ACCT #: xxxx5939                                                                    NATURE OF LIEN:
                                                                                    Vehicle Loan
Ford Motor Credit                                                                   COLLATERAL:
                                                                                    2012 Ford Fusion Sedan                                          $6,194.00
PO Box 542000                                                   J                   REMARKS:
Omaha, NE 68154-8000



                                                                                    VALUE:                          $8,111.00




Sheet no. __________
               2       of __________
                                2     continuation sheets attached                                      Subtotal (Total of this Page) >             $70,175.00         $44,949.00
to Schedule of Creditors Holding Secured Claims                                                        Total (Use only on last page) >             $578,035.95          $78,004.95
                                                                                                                                                (Report also on   (If applicable,
                                                                                                                                                Summary of        report also on
                                                                                                                                                Schedules.)       Statistical
                                                                                                                                                                  Summary of
                                                                                                                                                                  Certain Liabilities
                                                                                                                                                                  and Related
                                                                                                                                                                  Data.)
                                Case 15-24170              Doc 1        Filed 10/13/15           Page 34 of 71
B6E (Official Form 6E) (04/13)

In re Jason Christopher Rodd                                                                     Case No.
      Karen Lynn Rodd                                                                                                      (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name,
mailing address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the
debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority
and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and
Fed R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is
unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed."
(You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of
all amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule.
Individual debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
Data.



    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS                      (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                Case 15-24170               Doc 1       Filed 10/13/15            Page 35 of 71
B6E (Official Form 6E) (04/13) - Cont.

In re Jason Christopher Rodd                                                                      Case No.
      Karen Lynn Rodd                                                                                                         (If Known)


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                                Case 15-24170                                          Doc 1       Filed 10/13/15           Page 36 of 71
B6E (Official Form 6E) (04/13) - Cont.
In re Jason Christopher Rodd                                                                                               Case No.
      Karen Lynn Rodd                                                                                                                              (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY      Taxes and Certain Other Debts Owed to Governmental Units




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                       UNLIQUIDATED
                                                                                                                        CONTINGENT
                                                          OR COMMUNITY
                                             CODEBTOR
            CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                             AMOUNT         AMOUNT      AMOUNT




                                                                                                                         DISPUTED
             MAILING ADDRESS                                                       AND CONSIDERATION FOR                                OF         ENTITLED TO     NOT
           INCLUDING ZIP CODE,                                                             CLAIM                                       CLAIM        PRIORITY   ENTITLED TO
         AND ACCOUNT NUMBER                                                                                                                                    PRIORITY, IF
          (See instructions above.)                                                                                                                                ANY


ACCT #: xxxx2280                                                                DATE INCURRED:
                                                                                CONSIDERATION:
DLLR                                                                            Debt                                                    $808.00          $808.00        $0.00
P.O. Box 1844                                                                   REMARKS:
Baltimore, MD 21203                                          W



ACCT #: xx-xxx8512                                                              DATE INCURRED:
                                                                                CONSIDERATION:
IRS                                                                             1040 Taxes                                             $2,065.37       $1,745.73      $319.64
Centralized Insolvency Operation                                                REMARKS:
PO Box 7346                                                  W Kinderdance Debts
Philadelphia, PA 19101-7346




Sheet no. __________
               1       of __________
                               1       continuation sheets                                   Subtotals (Totals of this page) >         $2,873.37       $2,553.73      $319.64
attached to Schedule of Creditors Holding Priority Claims                              Total >                                         $2,873.37
                                      (Use only on last page of the completed Schedule E.
                                      Report also on the Summary of Schedules.)

                                                                                         Totals >                                                      $2,553.73      $319.64
                                      (Use only on last page of the completed Schedule E.
                                      If applicable, report also on the Statistical Summary
                                      of Certain Liabilities and Related Data.)
                              Case 15-24170                     Doc 1                         Filed 10/13/15     Page 37 of 71
B6F (Official Form 6F) (12/07)
  In re Jason Christopher Rodd                                                                                   Case No.
           Karen Lynn Rodd                                                                                                  (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of
any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include
claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this
total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the
Statistical Summary of Certain Liabilities and Related Data.




   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                HUSBAND, WIFE, JOINT,




                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                  UNLIQUIDATED
                MAILING ADDRESS                                                                         INCURRED AND                               CLAIM




                                                                                                                                   CONTINGENT
                                                                  OR COMMUNITY
                                                     CODEBTOR




                                                                                                                                    DISPUTED
              INCLUDING ZIP CODE,                                                                    CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #: 6936                                                                            DATE INCURRED:
                                                                                        CONSIDERATION:
Barclays Bank Delaware                                                                  Credit Card                                                  $2,802.00
Cardmember Services                                                                     REMARKS:
                                                                 W
P.O. Box 8801
Wilmington, DE 19899-8801



Representing:                                                                           Enhanced Recovery Company, LLC                             Notice Only
Barclays Bank Delaware                                                                  P.O. Box 57610
                                                                                        Jacksonville, FL 32241




                                                                                                                              Subtotal >              $2,802.00
 ________________continuation
        1                     sheets attached
                                                                                                                          Total >
                                                                            (Use only on last page of the completed Schedule F.)
                                                                (Report also on Summary of Schedules and, if applicable, on the
                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                               Case 15-24170                      Doc 1                         Filed 10/13/15     Page 38 of 71
B6F (Official Form 6F) (12/07) - Cont.
  In re Jason Christopher Rodd                                                                                     Case No.
           Karen Lynn Rodd                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx9737                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Frederick Regional Health System                                                          medical                                                       $228.00
P.O. Box 277045                                                                           REMARKS:
                                                                     J
Atlanta, GA 30384-7045



ACCT #: xxxxx0001                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Pain & Spine Specialists of MD                                                            medical                                                       $445.00
2702 Back Acre Circle                                                                     REMARKS:
                                                                     J
Suite 290B
Mt. Airy, MD 21771

ACCT #: xxxxx5506                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Sheppard Pratt Physicians, P.A.                                                           medical                                                       $120.00
P.O. Box 79713                                                                            REMARKS:
                                                                     J
Baltimore, MD 21279-0713




Sheet no. __________
              1        of __________
                               1     continuation sheets attached to                                                            Subtotal >              $793.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                    $3,595.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                 Case 15-24170        Doc 1      Filed 10/13/15         Page 39 of 71
B6G (Official Form 6G) (12/07)
   In re Jason Christopher Rodd                                                         Case No.
         Karen Lynn Rodd                                                                                (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                                 Case 15-24170               Doc 1       Filed 10/13/15            Page 40 of 71
B6H (Official Form 6H) (12/07)
In re Jason Christopher Rodd                                                                       Case No.
      Karen Lynn Rodd                                                                                                      (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                               Case 15-24170              Doc 1        Filed 10/13/15                 Page 41 of 71
 Fill in this information to identify your case:
     Debtor 1              Jason                Christopher            Rodd
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Karen                Lynn                   Rodd                                     An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   DISTRICT OF MARYLAND
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Intel Analyst                                      Dance Teacher- Self Employed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Department of Defense                              Kinderdance by Karen

      Occupation may include            Employer's address     9800 Savage Road                                   5847 Bottlebrush Court
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Ft. Meade                    MD       20755        New Market             MD      21774
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        13 years                                          9 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $8,800.13                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $8,800.13                  $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
                                      Case 15-24170                        Doc 1            Filed 10/13/15                     Page 42 of 71
Debtor 1 Jason                                Christopher                        Rodd                                            Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $8,800.13                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.           $1,796.06                       $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.              $70.40                       $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.            $440.01                        $0.00
     5d. Required repayments of retirement fund loans                                                       5d.            $108.74                        $0.00
     5e. Insurance                                                                                          5e.            $640.01                        $0.00
     5f. Domestic support obligations                                                                       5f.               $0.00                       $0.00
     5g. Union dues                                                                                         5g.               $0.00                       $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $3,055.22                       $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $5,744.91                       $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                 $925.78
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00                    $0.00
     8e. Social Security                                                                                    8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify: Tax Overwithholding                                                                       8h. +            $500.00                      $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.               $500.00                   $925.78

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $6,244.91          +         $925.78       =       $7,170.69
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $7,170.69
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                         Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                          page 2
                           Case 15-24170          Doc 1     Filed 10/13/15    Page 43 of 71
Debtor 1 Jason                      Christopher     Rodd                       Case number (if known)
          First Name                Middle Name     Last Name


8a. Attached Statement (Debtor 2)

                                                   Kinderdance by karen

Gross Monthly Income:                                                                                   $3,263.88

Expense                                                Category                               Amount
Expenses                                                                                   $2,338.10
Total Monthly Expenses                                                                                  $2,338.10

Net Monthly Income:                                                                                      $925.78




Official Form B 6I                                  Schedule I: Your Income                                page 3
                                 Case 15-24170              Doc 1        Filed 10/13/15             Page 44 of 71
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jason                  Christopher            Rodd                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Karen                  Lynn                   Rodd
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    DISTRICT OF MARYLAND                                           MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  son                                 13
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          son                                 7
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,736.01
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $350.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $50.00



 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                                 Case 15-24170             Doc 1     Filed 10/13/15      Page 45 of 71
Debtor 1 Jason                      Christopher              Rodd                         Case number (if known)
            First Name              Middle Name              Last Name


                                                                                                             Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                        5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                6a.                    $365.00
     6b. Water, sewer, garbage collection                                                              6b.                     $85.00
     6c. Telephone, cell phone, Internet, satellite, and                                               6c.                    $220.00
         cable services
     6d. Other. Specify:       Cell Phone Bill                                                         6d.                    $313.00
7.   Food and housekeeping supplies                                                                    7.                    $1,200.00
8.   Childcare and children's education costs                                                          8.

9.   Clothing, laundry, and dry cleaning                                                               9.                     $200.00
10. Personal care products and services                                                                10.                     $60.00
11. Medical and dental expenses                                                                        11.                    $400.00
12. Transportation. Include gas, maintenance, bus or train                                             12.                    $330.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                      13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                   14.                     $20.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                            15a.

     15b.    Health insurance                                                                          15b.

     15c.    Vehicle insurance                                                                         15c.                   $119.00
     15d.    Other insurance. Specify:                                                                 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                           16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1    2012 Ford Fusion                                            17a.                   $387.15
     17b.    Car payments for Vehicle 2    2013 Chrysler Van                                           17b.                   $446.89
     17c.    Other. Specify:                                                                           17c.

     17d.    Other. Specify:                                                                           17d.

18. Your payments of alimony, maintenance, and support that you did not report as                      18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                           19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                               20a.

     20b.    Real estate taxes                                                                         20b.

     20c.    Property, homeowner's, or renter's insurance                                              20c.

     20d.    Maintenance, repair, and upkeep expenses                                                  20d.

     20e.    Homeowner's association or condominium dues                                               20e.


 Official Form B 6J                                          Schedule J: Your Expenses                                           page 2
                                Case 15-24170          Doc 1       Filed 10/13/15           Page 46 of 71
Debtor 1 Jason                     Christopher             Rodd                               Case number (if known)
           First Name              Middle Name             Last Name


21. Other. Specify: See continuation sheet                                                                   21.    +    $215.00
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $6,597.05
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $7,170.69
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $6,597.05
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $573.64

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
                       Case 15-24170     Doc 1     Filed 10/13/15      Page 47 of 71
Debtor 1 Jason             Christopher     Rodd                         Case number (if known)
         First Name        Middle Name     Last Name



21. Other. Specify:
    Pet Expenses                                                                                  $75.00
    Children's Sports Expenses                                                                   $140.00

                                                                              Total:             $215.00




 Official Form B 6J                        Schedule J: Your Expenses                                page 4
                               Case 15-24170             Doc 1   Filed 10/13/15      Page 48 of 71
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MARYLAND
                                                    GREENBELT DIVISION
   In re Jason Christopher Rodd                                                      Case No.
         Karen Lynn Rodd
                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $447,505.00


 B - Personal Property                            Yes      8                $193,677.97


 C - Property Claimed                             Yes      14
     as Exempt
 D - Creditors Holding                            Yes      3                                        $578,035.95
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      3                                           $2,873.37
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      2                                           $3,595.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      3                                                                 $7,170.69
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      4                                                                 $6,597.05
    Individual Debtor(s)

                                             TOTAL         40               $641,182.97             $584,504.32
                               Case 15-24170          Doc 1     Filed 10/13/15        Page 49 of 71
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MARYLAND
                                                    GREENBELT DIVISION
   In re Jason Christopher Rodd                                                       Case No.
         Karen Lynn Rodd
                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                      $2,873.37
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL              $2,873.37

State the following:
 Average Income (from Schedule I, Line 12)                                     $7,170.69

 Average Expenses (from Schedule J, Line 22)                                   $6,597.05

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $9,609.92

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $78,004.95

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,553.73

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $319.64

 4. Total from Schedule F                                                                            $3,595.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $81,919.59
                                    Case 15-24170          Doc 1       Filed 10/13/15         Page 50 of 71
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Jason Christopher Rodd                                                                  Case No.
      Karen Lynn Rodd                                                                                              (if known)



                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        42
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 10/13/2015                                                    Signature    /s/ Jason Christopher Rodd
                                                                               Jason Christopher Rodd

Date 10/13/2015                                                    Signature     /s/ Karen Lynn Rodd
                                                                                Karen Lynn Rodd
                                                                   [If joint case, both spouses must sign.]

           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
document for compensation and have provided the debtor with a copy of this document and the notices and information required
under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.


Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer             Social Security No.
                                                                                     (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the
officer, principal, responsible person, or partner who signs this document.




Signature of Bankruptcy Petition Preparer                                           Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the
bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for
each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may
result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

   I, the                                                             of the
named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                               sheets, and that they are true and correct to the best of my knowledge, information, and belief.
(Total shown on summary page plus 1.)

Date                                                               Signature


[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                                  Case 15-24170               Doc 1        Filed 10/13/15            Page 51 of 71
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MARYLAND
                                                        GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                                   Case No.
            Karen Lynn Rodd                                                                                                  (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information
for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor
engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should provide the information
requested on this statement concerning all such activities as well as the individual's personal affairs. To indicate payments, transfers
and the like to minor children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed
for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and
the number of the question.

                                                                       DEFINITIONS
"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor
is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this
bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity
securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-
time. An individual debtor also may be "in business" for the purpose of this form if the debtor engages in a trade, business, or other
activity, other than as an employee, to supplement income from the debtor's primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor.
11 U.S.C. § 101(2), (31).



       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $44,890.00                  2015- Department of Defense for Jason Rodd

        $19,583.33                  2015- Kinderdance for Karen Rodd (Gross Income - not net)

        $98,265.34                  2014- Department of Defense for Jason Rodd

        $35,626.00                  2014- Kinderdance for Karen Rodd (Gross Income - not net)

        $88,079.00                  2013- Department of Defense for Jason Rodd

        $40,095.00                  2013- Kinderdance for Karen Rodd (Gross Income - not net)

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
                                 Case 15-24170              Doc 1       Filed 10/13/15           Page 52 of 71
B7 (Official Form 7) (04/13)                  UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF MARYLAND
                                                      GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                               Case No.
            Karen Lynn Rodd                                                                                             (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 1



       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATES OF
        NAME AND ADDRESS OF CREDITOR                                  PAYMENTS                AMOUNT PAID            AMOUNT STILL OWING
        Ford Motor Credit                                             August and              $967.85                $6,194.00
        PO Box 542000                                                 September
        Omaha, NE 68154-8000

        Chase Auto Finance                                            July 21st and           $1,430.05              $19,032.00
        P.O. Box 901076                                               August 1st
        Fort Worth, TX 76101-2076

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                           COURT OR AGENCY                STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING            AND LOCATION                   DISPOSITION
        Cohn vs. Rodd, et al                          Foreclosure                     Circuit Court for              Active
        10-C-15-000819                                                                Frederick County
                                                                                      Civil System
                                                                                      100 West Patrick
                                                                                      Street
                                                                                      Frederick, MD 21703

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                 Case 15-24170              Doc 1        Filed 10/13/15           Page 53 of 71
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                                       GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                                Case No.
            Karen Lynn Rodd                                                                                               (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 2



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Kevin K. Shipe                                                                                $1,500 + court costs
        The Law Offices of Shipe & Bush, P.C.
        3528 Worthington Blvd., #101
        Frederick, MD 21704

        D.E.C.A.F.                                                                                    $50- Credit Counseling Course
        114 Goliad Street
        Benbrook, TX 76126

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
                                  Case 15-24170              Doc 1        Filed 10/13/15           Page 54 of 71
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                                       GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                                 Case No.
            Karen Lynn Rodd                                                                                                (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 3



       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
                                  Case 15-24170               Doc 1         Filed 10/13/15          Page 55 of 71
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MARYLAND
                                                        GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                                  Case No.
            Karen Lynn Rodd                                                                                                 (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                         BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                      NATURE OF BUSINESS                             DATES

        Kinderdance by Karen                                         Instructional dance for children               February 2006-
        Sole Proprietorship                                          ages 3-9 years old                             Present
        5847 Bottlebrush Court, New Market, MD
        21774
        Taxpayer I.D. No.: XX-XXXXXXX

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
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B7 (Official Form 7) (04/13)               UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
   In re:   Jason Christopher Rodd                                                          Case No.
            Karen Lynn Rodd                                                                                       (if known)



                                             STATEMENT OF FINANCIAL AFFAIRS
                                                             Continuation Sheet No. 5



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 10/13/2015                                                  Signature        /s/ Jason Christopher Rodd
                                                                 of Debtor        Jason Christopher Rodd

Date 10/13/2015                                                  Signature       /s/ Karen Lynn Rodd
                                                                 of Joint Debtor Karen Lynn Rodd
                                                                 (if any)




[If completed on behalf of a partnership or corporation]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct to the best of my knowledge, information and belief.

Date                                                             Signature


[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571

          DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
document for compensation and have provided the debtor with a copy of this document and notices and information required under
11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.


Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer          Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the
officer, principal, responsible person, or partner who signs this document.




Signature of Bankruptcy Petition Preparer                                         Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the
bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for
each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both. 18 U.S.C. § 156.
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                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MARYLAND
                                                  GREENBELT DIVISION
IN RE:     Jason Christopher Rodd                                                        CASE NO
           Karen Lynn Rodd
                                                                                         CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $4,500.00
     Prior to the filing of this statement I have received:                                        $1,500.00
     Balance Due:                                                                                  $3,000.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
   d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
   e. [Other provisions as needed]
     Counsel hereby agrees to represent the debtors for the duration of the bankruptcy proceeding. The LAw Offices of
     Shipe & Bush, P.C. hereby waives the right to withdraw as counsel for the deptors pursuant to Local Rule 9010-5
     until this case is closed or a final order of dismissal has been entered. (Appendix F, option 4B).


6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Representation in adversary proceedings or matters that are not reasonably expected and that are extraordinary.


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      10/13/2015                              /s/ Kevin K. Shipe
                         Date                                 Kevin K. Shipe                             Bar No. 17437
                                                              The Law Offices of Shipe & Bush, P.C.
                                                              3528 Worthington Blvd.
                                                              Frederick, MD 21704
                                                              Phone: (301) 874-9030 / Fax: (301) 874-0033




      /s/ Jason Christopher Rodd                                           /s/ Karen Lynn Rodd
     Jason Christopher Rodd                                               Karen Lynn Rodd
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                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF MARYLAND
                                             GREENBELT DIVISION
  IN RE:   Jason Christopher Rodd                                                   CASE NO
           Karen Lynn Rodd
                                                                                   CHAPTER          13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 10/13/2015                                           Signature    /s/ Jason Christopher Rodd
                                                                      Jason Christopher Rodd



Date 10/13/2015                                           Signature    /s/ Karen Lynn Rodd
                                                                      Karen Lynn Rodd
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           AT&T
           P.O. Box 10330
           Fort Wayne, IN 46851-0330



           Barclays Bank Delaware
           Cardmember Services
           P.O. Box 8801
           Wilmington, DE 19899-8801


           Capital One Bank, N.A.
           PO Box 21887
           Eagan, MN 55121



           Chase Auto Finance
           P.O. Box 901076
           Fort Worth, TX 76101-2076



           Cohn, Goldberg & Deutsch, LLC
           600 Baltimore Avenue
           #208
           Towson, MD 21204


           Ditech Financial LLC
           PO Box 6176
           Rapid City, SD 57709-6176



           DLLR
           P.O. Box 1844
           Baltimore, MD 21203



           Enhanced Recovery Company, LLC
           P.O. Box 57610
           Jacksonville, FL 32241



           Ford Motor Credit
           PO Box 542000
           Omaha, NE 68154-8000
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           Frederick Regional Health System
           P.O. Box 277045
           Atlanta, GA 30384-7045



           IRS
           Centralized Insolvency Operation
           PO Box 7346
           Philadelphia, PA 19101-7346


           Pain & Spine Specialists of MD
           2702 Back Acre Circle
           Suite 290B
           Mt. Airy, MD 21771


           Sheppard Pratt Physicians, P.A.
           P.O. Box 79713
           Baltimore, MD 21279-0713
                                   Case 15-24170           Doc 1     Filed 10/13/15          Page 61 of 71
 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1             Jason                  Christopher         Rodd                        According to the calculations required by this
                      First Name             Middle Name         Last Name                   Statement:

 Debtor 2            Karen                   Lynn                Rodd                           1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name         Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                      under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $8,684.13                 $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                      $0.00                $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                         $3,263.89
     Ordinary and necessary operating expenses               –      $2,338.10
                                                                                 Copy
     Net monthly income from a business, profession, or farm          $925.79 here                $0.00             $925.79


6.   Net income from rental and other real property
     Gross receipts (before all deductions)                              $0.00
     Ordinary and necessary operating expenses               –           $0.00
                                                                                 Copy
     Net monthly income from rental or other real property               $0.00 here               $0.00                $0.00


7.   Interest, dividends, and royalties                                                           $0.00                $0.00


Official Form 22C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 1
                                          Case 15-24170                             Doc 1               Filed 10/13/15                          Page 62 of 71
Debtor 1         Jason                             Christopher                       Rodd                                               Case number (if known)
                 First Name                        Middle Name                       Last Name


                                                                                                                                             Column A                   Column B
                                                                                                                                             Debtor 1                   Debtor 2 or
                                                                                                                                                                        non-filing spouse

8.    Unemployment compensation                                                                                                                         $0.00                           $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                             $0.00                           $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                             +                               +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $8,684.13            +             $925.79            =         $9,609.92
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                        Total average
                                                                                                                                                                                                        monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $9,609.92
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 in line 13d.
             You are married and your spouse is filing with you. Fill in 0 in line 13d.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                     +
                                                                                                                                          $0.00
             13d. Total......................................................................................................................                Copy
                                                                                                                                                                .........................
                                                                                                                                                                    here.                 13d.        –                 $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                14.             $9,609.92

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                                                $9,609.92
                                                   ...................................................................................................................................................................................
                                                                                                                                                                                                15a.

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   X         12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                                15b.       $115,319.04




Official Form 22C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 2
                                      Case 15-24170                         Doc 1             Filed 10/13/15                          Page 63 of 71
Debtor 1      Jason                           Christopher                    Rodd                                             Case number (if known)
              First Name                      Middle Name                    Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                  Maryland
    16b.    Fill in the number of people in your household.                                               4

    16c.                                                                                                                                               16c. $107,091.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                              $9,609.92
                                                                                         ..............................................................................................................................................
                                                                                                                                                                                      18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                19a.    –                 $0.00

    Subtract line 19a from line 18.                                                                                                                                                 19b.              $9,609.92

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                             $9,609.92
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                     X         12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                         20b.       $115,319.04

    20c.                                                                                                                                   20c. $107,091.00
            Copy the median family income for your state and size of household from line 16c. ...................................................................................................

21. How do the lines compare?

           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Jason Christopher Rodd                                                                      X       /s/ Karen Lynn Rodd
           Jason Christopher Rodd                                                                                  Karen Lynn Rodd

        Date 10/13/2015                                                                                          Date 10/13/2015
             MM / DD / YYYY                                                                                           MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                 page 3
                                     Case 15-24170                       Doc 1            Filed 10/13/15                    Page 64 of 71
 Fill in this information to identify your case:
 Debtor 1               Jason                        Christopher                   Rodd
                        First Name                   Middle Name                   Last Name

 Debtor 2            Karen                           Lynn                          Rodd
 (Spouse, if filing) First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number
 (if known)
                                                                                                                                 Check if this is an amended filing


Official Form 22C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                                   12/14
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 22C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 22C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 22C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                             4
      be different from the number of people in your household.


 National Standards                You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                         $1,513.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                    $60.00
      7b. Number of people who are under 65                                        X                 4
                                                                                                          Copy line 7c
      7c. Subtotal. Multiply line 7a by line 7b.                                          $240.00 here                                    $240.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                  $144.00
      7e. Number of people who are 65 or older                                     X
                                                                                                          Copy line 7f
      7f.   Subtotal. Multiply line 7d by line 7e.                                            $0.00 here                       +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                              $240.00 here
      7g. Total. Add lines 7c and 7f................................................................................................................................     7g.    $240.00




Official Form 22C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                              page 1
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Debtor 1     Jason                  Christopher           Rodd                               Case number (if known)
             First Name             Middle Name           Last Name



 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                  $625.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $2,105.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Capital One Bank, N.A.                                    $2,392.53



                                                              +
                                                                                                                   Repeat this
                                                                                Copy line 9b                       amount on
            9b. Total average monthly payment                         $2,392.53 here               –     $2,392.53 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                      Copy line 9c
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                       $0.00 here                $0.00
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                     $554.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 22C-2                                    Chapter 13 Calculation of Your Disposable Income                                 page 2
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Debtor 1    Jason                  Christopher            Rodd                             Case number (if known)
            First Name             Middle Name            Last Name


 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1       Describe Vehicle 1:    2012 Ford Fusion Sedan



      13a. Ownership or leasing costs using IRS Local Standard                                 13a.      $517.00

      13b. Average monthly payment for all debts secured by Vehicle 1.

           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all
           amounts that are contractually due to each secured creditor in the 60 months
           after you file for bankruptcy. Then divide by 60.


            Name of each creditor for Vehicle 1                  Average monthly
                                                                 payment
                                                                                                                 Repeat this
                                                                                        Copy 13b                 amount on
           Ford Motor Credit                                          $103.23           here       –     $103.23 line 33b.

                                                                                                                 Copy net
                                                                                                                 Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                             expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0.          13c.      $413.77 here                    $413.77


      Vehicle 2       Describe Vehicle 2:    2013 Chrysler Town & Country



      13d. Ownership or leasing costs using IRS Local Standard                                 13d.      $517.00

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

            Name of each creditor for Vehicle 2                  Average monthly
                                                                 payment
                                                                                                                 Repeat this
                                                                                        Copy                     amount on
           Chase Auto Finance                                         $317.20           here       –     $317.20
                                                                                                                 line 33c.

                                                                                                                 Copy net
                                                                                                                 Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                             expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.               13f.      $199.80 here                    $199.80

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                  $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-          $1,940.86
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.


Official Form 22C-2                                    Chapter 13 Calculation of Your Disposable Income                                     page 3
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Debtor 1       Jason              Christopher           Rodd                             Case number (if known)
               First Name         Middle Name           Last Name


 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                  $677.42
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                       $34.65
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +                $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 22C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                              $6,198.50

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $539.91
      Disability insurance                                          $0.00
      Health savings account                           +            $0.00

      Total                                                     $539.91 Copy total here                                                                        $539.91
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses.

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                 $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




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 28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
     allowance on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in the non-
      mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                                                               $0.00
     $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                                                                $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                                                                                    $539.91
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33g.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                      Average monthly
                                                                                                                                      payment
             Mortgages on your home

      33a.                                                                                                                                   $2,392.53
             Copy line 9b here............................................................................................................................................................................................

             Loans on your first two vehicles

      33b.                                                                                                                                     $103.23
             Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                     $317.20
             Copy line 13e here............................................................................................................................................................................................
      Name of each creditor for                                   Identify property that                       Does payment
      other secured debt                                          secures the debt                             include taxes or
                                                                                                               insurance?

             AT&T                                                 Iphone 6 64gb                                               No                     $11.25
      33d.
                                                                                                                              Yes

             AT&T                                                 Iphone 6 Plus                                               No                       $8.57
      33e.
                                                                                                                              Yes

                                                                                                                              No
      33f.   AT&T                                                 Iphone 6 64gb                                                        +             $11.33
                                                                                                                              Yes
                                                                                                                                                                       Copy total
      33f.                                                                                                       $2,844.11
             Total average monthly payment. Add lines 33a through 33f...............................................................                                   here                        $2,844.11


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 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                      Total cure                            Monthly cure
                                         secures the debt                            amount                                amount

 Capital One Bank, N.A.                  Residence                                      $26,000.00          ÷ 60 =                $433.33

                                                                                                            ÷ 60 =

                                                                                                            ÷ 60 =     +
                                                                                                                                                   Copy total
                                                                                                             Total                $433.33          here           $433.33

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
            No. Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                    Total amount of all past-due priority claims...................................................................................... ÷ 60 =        $0.00

 36. Projected monthly Chapter 13 plan payment                                                                                    $600.00
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                             X           7.3 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                                   Copy total
      Average monthly administrative expense                                                                                        $43.80         here            $43.80

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                   $3,321.24

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $6,198.50
      Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

      Copy line 32, All of the additional expense deductions............................................................... $539.91

      Copy line 37, All of the deductions for debt payment.....................................................        +         $3,321.24
                                                                                                                                                   Copy total
      Total deductions                                                                                                       $10,059.65            here         $10,059.65




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 Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13
                                                                                                                                               $9,609.92
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 22C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                             $510.40
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                             $10,059.65
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense


        43a.

        43b.

        43c.                                                                                +
                                                                                                                         Copy 43d
        43d. Total. Add lines 43a through 43c..........................................                     $0.00 here                  +               $0.00

                                                                                                                                                   Copy total
                                                                                                                        $10,570.05                                    – $10,570.05
 44. Total adjustments. Add lines 40 through 43d..............................................................................................................................
                                                                                                                                                   here


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                        ($960.13)

 Part 3:            Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 22C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form                Line        Reason for change                                                                Date of change                       Increase or      Amount of change
                                                                                                                                                                decrease?

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease




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             First Name           Middle Name           Last Name


 Part 4:       Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X     /s/ Jason Christopher Rodd                                        X     /s/ Karen Lynn Rodd
            Jason Christopher Rodd                                                  Karen Lynn Rodd

           Date 10/13/2015                                                        Date 10/13/2015
                MM / DD / YYYY                                                         MM / DD / YYYY




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